  Case 3:21-cv-00721 Document 1-18 Filed 07/20/21 Page 1 of 1 PageID 150




                                                     2A
                                         Schedule 2.2-t(a)
                                Educational Approvals and Reviews

 1.      U.S. Department of Education OPEID #03374300
 2.      Accreditation by the American Bar Association
 3.      License #3090 by the Florida Commission for Independent Education
4.       Veterans Affairs Yellow Ribbon Approved School
American Bar Association
Florida Coastal School of Law remains an approved law school.
At its November 2019 meeting, the Council concluded that the Law School was not in
compliance with Standard 202(a) and (d) in that the Law School's anticipated financial condition
was expected to have a negative and material impact on the Law School's ability to operate in
compliance with the Standards. The Law School was directed to provide information and data to
indicate compliance with the Standards.
At its February 2020 meeting the Council considered the status of the Law School and
determined that the Law School was in compliance with Standard 202(a) and (d). It also
determined it had reason to believe that the Law School was not in compliance with Standard
316 relative to ultimate bar passage.
At its May 14-15, 2020 meeting the Council determined that the Law School was not in
compliance with Standard 316 in that at least 7 5 percent of its 2017 graduate cohort had not
passed a bar examination within two years of graduation. The Council directed the Law School
to provide evidence regarding the cohorts for either 2018 or 2019 expressing a new interpretation
that allows for a finding of compliance if a subsequent cohort has achieved 75 percent passage.
At its August 13-14, 2020 meeting the Council concluded that the Law School was in
compliance with Standard 316 relative to ultimate bar passage for the 2018 graduate cohort. At
this meeting the Council also reviewed the Site Report from the Law School's sabbatical site
visit conducted in March 1-4, 2020. The Council had reason to believe the Law School was not
in compliance with several Standards and requested a response regarding these Standards by
January 15, 2021. It also found that it had insufficient information to make a determination of
compliance with certain other Standards and requested responses regarding those Standards by
the same date.
At its February 18-19, 2021 meeting the Council reviewed the submissions from the Law School
and determined that it is not in compliance with Standards 310 (determining credit hours
awarded for coursework), 311 (prohibition on enrollment that exceed 20% of the total credit
hours required for graduation), 402 (sufficient number of full time faculty), 508 (provision of
career counseling), 510 (maintenance of student complaints for the appropriate time period), 601
(maintenance of a law library consistent with the Standards), 603 (employment of a full time
director of the law library) and 604 (sufficiency of the library staffing). The Council requested
responses regarding these Standards and the Law School's compliance therewith by July 1, 2021.
The Council also requested information indicating compliance with several other Standards by
the same date.
U.S. Department of Education
By letter dated April 16, 2018, the U.S. Department of Education (the "ED") notified Florida
Coastal School of Law, Inc. that it failed to satisfy the ED's standards of financial responsibility,
based on a composite score of 1.1 for Florida Coastal School of Law, Inc. for the fiscal year
ended July 31, 2017. The ED letter provided Florida Coastal School of Law, Inc. the option of




                                                                                 FCSL - 000089
